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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

CASE NO. 19-cr-86-REB-2

UNITED STATES OF AMERICA,

       Plaintiff,

v.


     2. BRAINARD CLARK,

       Defendant.


                             NOTICE OF DISPOSITION


        Defendant, Brainard Clark, by and through his attorney, Peter Hedeen, notifies
the Court that a disposition has been reached in this matter. The Defendant requests
that this matter be set for a hearing on his change of plea, and also requests that all
pending dates for pre-trial matters and trial be vacated.

       Dated this Tuesday, January 19, 2021.


                                         Respectfully submitted,



                                         __S/Peter Hedeen___
                                         Peter Hedeen
                                         2373 Central Park Blvd.
                                         Suite 100
                                         Denver, CO 80238
                                         720-979-0927
                                         303-803-1501 Fax




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                           CERTIFICATE OF MAILING

        I hereby certify that on Tuesday, January 19, 2021, I electronically filed the
foregoing with the Clerk of the Court using the court’s ECF system which will send
notification of such filing to all counsel of record and the following e-mail address:


Jason St. Julien, Assistant United States Attorney
jason.st.julien@usdoj.gov


And, I hereby certify that I have mailed or served the document or paper to the
following non CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated
by the non-participant’s name:

Mr. Brainard Clark (via US Mail)


                                   __S/Peter Hedeen___
                                   Peter Hedeen
                                   2373 Central Park Blvd.
                                   Suite 100
                                   Denver, CO 80238
                                   720-979-0927
                                   303-803-1501 Fax




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